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IN 'l‘I-lE UNITED S’I`ATES DIS’I`R!CT CO URT
FOR THE EASTERN DISTRICT OF VlRGlNIA
Alcxandria Division

VALADOR, INC., )
Plaintiff, )

)

v. ) Case No. 1:16~ev-1162

)

HTC CORPORATION, et al., )
Defendants. )

ORDER

'l`he matter is before the Court on defendants’ bill of costs (Doc. 298) and motion for
attorneys’ fees (Doc. 302). The motions were referred to United States Magistrate ludge John
Anderson. who entered a thorough Report and Recommcnda.tion (Doc. 319). ln his Repon,
Judge Anderson recommends granting defendants' motions_. finding that this is an extraordinary
case where attomeys’ fees and costs may be awarded to the prevailing party under the Lanbam
Act. ]d. (citing 15 U.S.C. § lll?(a)). Specitically, Judge Anderson concluded that plaintist
trademark claims were objectively unreasonable and that awarding defendants’ requested
attorneys’ fees is appropriate Judge Anderson recommends awarding defendants $1,502,909.95
in attorneys’ fees and $29.852.28 in costs

Plaintit`f` objects to lodge Anderson’s Report and Recommendation, arguing that (i)
plaintiffs claims were not objectively unreasonable when they were brought because they were
brought in good faith reliance on an initial determination by the U.S. Patent and Trademarl<
Ofi'!ee that dcfendants` proposed marks would create a likelihood of confusion with plaintiffs
marks; (ii) plaintist claims were not objectively unreasonable because it relied on the opinions
of a qualified expert witness; (iii) plaintiff s claims were not objectively unreasonable because at

the March 3, 2017 summary judgment hearing the Court stated that some or all of the claims may

 

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survive summary judgment; and (iv) plaintist appeal was objectively reasonable because
plaintiH could have reasonably believed that the liourth Circuit would reverse the grant of
summary judgment None of plaintiffs objections warrant a finding that its claims were
objectively reasonable and therefore its objections must be overruled

Accordingly,

lt is hereby ORDERED that lodge Anderson’s Report and Recommendation (Doe. 319)
is ADOPTED in its entirety as the opinion ol` this Court over plaintiffs objection

lt is further ORDERED that defendants’ motion for bill of costs (Doc. 298) and motion
for attorneys’ fees (Doc. 302) arc GRANTED.

The Clerk of Court is directed to enter amended judgment in favor of defendants and
against plaintiff in the amount of $1,532,762.23.

The Clerlt is directed to send n copy of this Order to all counsel or` record.

Alcxandria, Virgini
October , 2018

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T. S. Ellis, III
United States Dis ct ]udg¢

